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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 SCOTT HILL,                                    §
                                                §
         Plaintiff,                             §
                                                §
                                                §
 vs.                                            §        CIVIL ACTION NO. 4:22-cv-03311
                                                §
 HYATT CORPORATION D/B/A HYATT                  §                    Jury Demand
 CENTRIC THE WOODLANDS,                         §
                                                §
         Defendant.                             §

                         DEFENDANT'S NOTICE OF REMOVAL

        Defendant, Hyatt Corporation d/b/a Hyatt Centric The Woodlands ("Hyatt") files this
Notice of Removal, as follows:

                                       I.
                          COURT AND PARTY INFORMATION

        1.     HYATT CORPORATION D/B/A HYATT CENTRIC THE WOODLANDS

("Defendant") is the Defendant in this civil action commenced on September 6, 2022, in the 113th

Judicial District of Harris County, Texas, entitled Scott Hill v. Hyatt Corporation d/b/a Hyatt

Centric The Woodlands, Cause No. 202256026 ("State Court Action").

        2.     Copies of the (1) Plaintiff's Original Petition, including the (a) Civil Case

Information Sheet and (b) Request for Issuance of Citation; (2) Citation to Defendant Hyatt

Corporation (D/B/A Hyatt Centric The Woodlands); (3) Defendant Hyatt Corporation d/b/a Hyatt

Centric The Woodland's Original Answer; and (4) the Civil Docket Sheet are attached hereto and

constitute all process, pleadings and orders served in the State Court Action. See Index of State

Court Documents attached hereto. The address for the 113th Judicial District of Harris County,

Texas is as follows: Harris County Civil Courthouse, 201 Caroline, 10th Floor, Houston, TX 77002.


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       3.      Plaintiff in the State Court Action is Scott Hill ("Plaintiff"). Plaintiff is represented

by Efrain Gonzalez Jr. (Texas Bar No. 24084739) of EGJ LAW, PLLC, 1300 W. 19th St., #7475,

Houston, TX 77248, (713) 417-5015, eservice@egjlawfirm.com. Defendant Hyatt Corporation

d/b/a Hyatt Centric The Woodlands is the Defendant in the State Court Action and is represented

by Michael A. Logan (Texas Bar No. 12497500) and John W. “Jack” Delaney (Texas Bar No.

24125200) of Kane Russell Coleman Logan PC, 901 Main Street, Suite 5200, Dallas, Texas 75202,

(214) 777-4200, mlogan@krcl.com, jdelaney@krcl.com.

                                            II.
                                    STATE COURT ACTION

        4.     Plaintiff claims that on September 5, 2020, he was injured while a guest at the Hyatt

Centric Hotel located at 9595 Six Pines Dr. #1100, The Woodlands, TX 77380, when he slipped

and fell in the parking area.

       5.      Plaintiff requested a trial by jury in the State Court Action, but the jury fee has not

been paid.

                                           III.
                                  GROUNDS FOR REMOVAL

       6.      Defendant files this Notice of Removal on the grounds of diversity jurisdiction

under 28 U.S.C. § 1332(a). A suit may be removed from state court to federal court on the grounds

of diversity jurisdiction when the suit involves a controversy between citizens of different states

and the amount in controversy exceeds $75,000, exclusive of interest and costs.

       7.      Except as otherwise expressly provided by an Act of Congress, any civil action

brought in a state court of which the district courts of the United States have original jurisdiction

may be removed to the district court of the United States for the district and division embracing

the place where the action is pending. See 28 U.S.C. § 1441. The Houston Division of the



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Southern District of Texas is the United States district and division embracing Harris County,

Texas, the county in which the State Court Action is pending.

       A.      This Notice of Removal is timely filed.

       8.      The citation and petition in this action were served on Defendant on September 14,

2022, by serving Defendant's registered agent. This Notice of Removal is filed within thirty (30)

days of receipt of the citation and petition and is, therefore, timely filed pursuant to U.S.C. §

1446(b).

       B.      Complete diversity exists between the parties properly joined.

       9.      This is a civil action that falls under the Court’s original jurisdiction pursuant to 28

U.S.C. § 1332(a) and is one that may be removed to this Court based on diversity of citizenship in

accordance with 28 U.S.C. §§ 1441 and 1446. Complete diversity exists in this case because

Plaintiff and Defendant are citizens of different states.

       10.     As stated in Plaintiff's Original Petition, Plaintiff is a resident of Texas. He lives

in Huntsville, Texas, which is located in Walker County, Texas. Thus, Plaintiff is now, and was

at the time this action commenced, a citizen of the State of Texas.

       11.     Defendant Hyatt Corporation is a corporation formed under the laws of the State of

Delaware, having its principal place of business now and at the time this action was commenced

in Chicago, Illinois. Therefore, Defendant Hyatt Corporation is not a citizen of the State of Texas.

       12.     Accordingly, complete diversity exists pursuant to 28 U.S.C. § 1332.

       C.      The amount in controversy requirement is satisfied.

       14.     As reflected in Plaintiff's Original Petition, the amount in controversy in this action,

exclusive of interest and costs, exceeds the sum of $75,000. Specifically, Plaintiff seeks monetary

relief between $250,000 and $1,000,000. See Plaintiff's Original Petition, ¶12. Therefore, the



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estimate of damages that has been put at issue in this action by Plaintiff and the amount in

controversy in this action exceeds $75,000.

        15.     Removal of the State Court Action is proper pursuant to 28 U.S.C. § 1441, because

it is a civil action brought in a state court, and the federal district courts have original jurisdiction

over the subject matter under 28 U.S.C. § 1332(a) because Plaintiff and Defendant are diverse in

citizenship.

        WHEREFORE, Defendant, pursuant to these statutes and in conformance with the

requirements set forth in 28 U.S.C. § 1446, removes this action for trial from the 113th Judicial

District, Harris County, Texas.



                                          Respectfully submitted,

                                          KANE RUSSELL COLEMAN LOGAN PC


                                          By: /s/ Michael A. Logan
                                              Michael A. Logan
                                              Attorney-in-Charge
                                              TX State Bar No. 12497500
                                              E-Mail: mlogan@krcl.com

                                                901 Main Street, Suite 5200
                                                Dallas, Texas 75202
                                                Telephone:     (214) 777-4294
                                                Facsimile:     (214) 777-4299

                                          ATTORNEY FOR DEFENDANT HYATT
                                          CORPORATION D/B/A HYATT CENTRIC THE
                                          WOODLANDS




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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this the 27th day of September, 2022, a copy of
the foregoing document was filed electronically with the Clerk of Court using the CM/ECF system.
Notice of this filing will be sent to counsel for Plaintiff by operation of the Court’s electronic filing
system, unless counsel for Plaintiff is not registered with the CM/ECF system, in which case the
undersigned certifies that a copy of the foregoing document was sent to counsel for Plaintiff via
certified mail, return receipt requested.


                                          /s/ Michael A. Logan
                                          Michael A. Logan




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                                                                                                   9/5/2022 12:12 PM
                                                                        Marilyn Burgess - District Clerk Harris County
                                                                                             Envelope No. 67953889
                                                                                                    By: Cecilia Thayer
                                                                                            Filed: 9/6/2022 12:00 AM

                             CAUSE NO.


SCOTT HILL                                       §           IN THE DISTRICT COURT OF
               Plaintiff                         §
                                                 §
vs.                                              §              HARRIS COUNTY, TEXAS
                                                 §
HYATT CORPORATION D/B/A                          §
HYATT CENTRIC THE WOODLANDS                      §
               Defendant                         §                     JUDICIAL DISTRICT



      PLAINTIFF SCOTT HILL'S ORIGINAL PETITION, RULE 193.7 NOTICE, AND JURY
                                    DEMAND



TO THE HONORABLE JUDGE OF SAID COURT:


        COMES NOW, Scott Hill, (hereinafter "Plaintiff"), and files this Original Petitiori,


Rule 193.7 Notice, and Jury Demand, complaining of Hyatt Corporation d/b/a Hyatt


Centric The Woodlands (hereinafter "Defendant"). Plaintiff, for cause of action, would


respectfully show the following:


                               I. DISCOVERY CONTROL PLAN


        Plaintiff hereby requests that discovery in this case be conducted pursuant to Texas


Rule of Civil Procedure 190.3 (Level 2). Plaintiff requests this Court to issue a Docket


Control Order in accordance with a Level 2 discovery plan. If such be necessary, the


parties will submit an Agreed Docket Control Order for the Court to sign.


                                 II. JURISDICTION & VENUE


        This Court has jurisdiction in this lawsuit since the damages to Plaintiff are withiri


the jurisdictional limits of this Court.
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       AII or a substantial part of the events or omissions giving rise to Plaintiff`s causes of

action occurred in Harris County, Texas. Therefore, venue is proper pursuant to §§15.001


and 15.002(a)(1) of the Texas Civil Practice & Remedies Code.


                                            III. PARTIES


       Plaintiff is an individual presently residing in Texas.


       Defendant Hyatt Corporation d/b/a Hyatt Centric The Woodlands is a company


doing business in the state of Texas, and may be served through its registered agent


United States Corporation Co., 211 E. 7th Street, Suite 620, Austin, Texas 78701-3218.


                               IV.    FACTUAL BACKGROUND

       On or about September 5, 2020, Plaintiff was visiting the Hyatt Centric The


Woodlands as an invitee whom had purchased a room for overnight stay. The property is


managed and operated by Defendant. As Plaintiff was entering the premises from the


parking area, he slipped and fell due to debris and water at the entrance of the hotel from


the parking area, causing Plaintiff severe bodily injury, which required surgical repair.


Defendant has failed to provide evidence requested, including video recording evidence


of the subject incident.


                                     V.   CAUSES OF ACTION

      Plaintiff hereby incorporates by reference the forgoing allegations in Section IV of


these pleadings.




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        At the time of the incident in question, Plaintiff was an invitee of Defendant.


Defendant knew or should have known of the unreasonably dangerous condition and


neither corrected nor warned Plaintiff of it. Plaintiff did not have any knowledge of the


dangerous condition and could not have reasonably been expected to discover it.


Defendant either created the condition and/or failed to correct the condition or to warn


Plaintiff about the dangerous condition, which constituted negligence, and such


negligence was a proximate cause of the occurrence in question and Plaintiff's resulting


injuries.


       Plaintiff would show that, based on the above-described facts, Defendant was


negligent. Defendant, as occupier and owner of the premises, with control over the


premises, had a duty to inform Plaintiff of the dangerous condition and make safe the


defective condition existing on Defendant's premises.


       Defendant is liable to Plaintiff under the theory of premises liability and negligence


based on the following negligent conduct:


       (a) Failure to maintain the premises in a reasonably safe condition;
       (b) Failure to inspect the premises where the dangerous condition existed;
       (c) Failure to correct the condition by taking reasonable measure to safeguard
       persons on the premises;
       (d) Failure to inform Plaintiff of the dangerous condition existing on the premises;
       and
       (e) Other acts deemed negligent.




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        Each of the foregoing negligent acts and/or omissions, whether taken singularly or


in any combination, was a proximate cause of Plaintiff's injuries and damages that are


described below.


       Defendant was also negligent in that it failed to act as reasonably prudent premise


owner would act in the same or similar situation.


                                         VI. DAMAGES


       As a direct and proximate result of the above-described actions of Defendant,


Plaintiff will show that he has suffered actual damages within the jurisdictional limits of this


Court. Plaintiff has suffered physical pain and suffering and mental anguish in the past


and, in reasonable probability, will suffer physical pain and suffering and mental anguish in


the future. Plaintiff has suffered physical impairment, and loss of enjoyment of life, in the


past and will continue to suffer these damages in the future. Plaintiff has incurred medical


and pharmaceutical expenses in the past and, in reasonable medical probability, will incur


medical and pharmaceutical expenses in the future.


                                      VII. JURY DEMAND


       Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Plaintiff respectfully


requests and demands a trial by jury. The appropriate jury fee will be tendered after the


filing of this pleading and prior to trial.




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                                VIII.   RULE 193.7 NOTICE

       Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Plaintiff hereby gives


actual notice to Defendant that any and all documents produced may be used against at


any pretrial proceeding and/or at the trial of this matter without the necessity of


authenticating the documents.


                                        IX. PRAYER

       For the reasons discussed herein, Plaintiff prays this court order Defendant to


appear and answer herein and that Plaintiff have.judgment taken against Defendant, and


recover all damages allowed by law, pre-judgment and post judgment interest as allowed


by law, punitive darnages, costs of court, and such other and further relief, both general


and special, at law or in equity, to which Plaintiff may show himself justly entitled between


$250,000 and $1,000,000.00 including but not limited to:


      (a) Past and future medical damages;


      (b) Past and future physical pain and suffering and mental anguish;


      (c) Past and future impairment and disfigurement;


      (d) Costs of Court; and


      (e) Whatever further relief the Court may deem justly appropriate.


                                                      Respectfully submitted,




                                                       IIIEGJ-LAUV
                                                                             PLLC



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                                          By: /s/ Efrain Gonzalez Jr.


                                          EFRAIN GONZALEZ JR.
                                          State Bar No. 24084739
                                          1300 W. 19th St., #7475
                                          Houston, Texas 77248
                                          Tel: 713.417.5015
                                          Fax: 833.657.2486
                                          eservice@egjlawfirm.com


                                          ATTORfVEY FOR PLAINTIFF




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vs.                                                                                            DistriCt COurt of
I:}EE'ENDANT:          HYATT'                   CORPORATION      (D/ B/A   HYA:I'T             Harris County, Texas
cErrl•RZL THE WOODLANDS)


                                                                      C1'i'AliON
THE STATE OF TEXAS
County of Ha*ris

=0: HYATT CORPORATT_ON                               (D/R/A HYATT CENTRZC THE W00Di,1aNDS) MI1Y BE SERVED THRQUsH I'!,'S
REGISTERED AGENT
UNITED STATES C0121'ORATIGN CO
212 E 7'TH STKEEZ' SUITE 620
AUSZ'IN TX 78701-3218


    Attaclied is a copy of                               L'LAINTIE'F' S OitIGINAL PETITIODi RULE 193.7 IJO':ICE 13ND JURY
DE.MAND .
Thi s i nstreiment~ was Liled on Sepi:.er:iber 6, 2022, _n the above nur.€k;ered and styled
cause on the docket in the above Jud- cWal District Court of Harris Courity, Texas, in
the courthouse in the City o= Houston, Texas. The instrument attac:hed describes the
c=aim against you.
    YOU HAVE ,SL•'EN SUED. You cnay empEoy an atto=ney. 1'f you or your aLLorney do not
r;.?e a written answer with the OWstrict Clerk wlio a.ssued this ci.tat:.on by 10:00 a.m.
on the Monday nexL- Following t:he exp_ral'.ion of twer:i.y days after you were served th=s
ci-tation and petition, a defaulC. judgment may be taken againsL. you. In addItion to
`_?ing a wriCten answer with the clerk, you may be required to make initial
disclosures to the other parties oA this suit. These disciosures generally r.►ust be
made no later Lhan 30 days a{ter you file your answer• w_th the clerk. Find out: more
at TexasLawHelp.org.
    ISS(!ED AND GIVEN UNDER MY HPyND and seal of said Court.,                                     at Hotiston,    Texas,     this
September 9, 2022.

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PLIaINTIFI': HILL, SCCT'1                                                                              in t.he 113th

       trS .                                                                                           JLidicial !]: strict     Court
llEF'ENDANT: HyATT CORPOKATION                          (L)/B/A HYATT                                  of Harris County, Texas
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appears on t.he foregoing retturn, personally appeared. After being by me duly sworn,
he/she st.ated that this citation was executecl by him/her in the exact- manner recited
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                                                    Notary Public
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